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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



IHC HEALTH SERVICES, INC., a non-profit        REPLY MEMORANDUM IN
Utah corporation,                              SUPPORT OF ELAP’S PARTIAL
                                               MOTION TO DISMISS
       Plaintiff,
                                               (Oral Argument Requested)
v.
                                               Case No. 2:17-cv-01245-JNP-EJF
ELAP SERVICES, LLC, a limited liability
company,                                       Judge Jill N. Parrish

       Defendant.                              Magistrate Judge Evelyn J. Furse
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            Defendant ELAP Services, LLC hereby files this reply memorandum in support of its

partial motion to dismiss the second, third, fourth, and fifth claims for relief pled in the Second

Amended Complaint (the “SAC”) filed by Plaintiff IHC Health Services, Inc. (hereinafter

“IHC”).

                                                   ARGUMENT

            In its Opposition to ELAP’s Partial Motion to Dismiss, IHC takes a novel approach to the

well-established elements of the claims at issue. IHC searches through its SAC to shoehorn

otherwise clear allegations to meet elements when those allegations in reality are unsupportive.

       I.        Although IHC Concedes It Did Not Rely on Any Misrepresentations Allegedly
                 Made by ELAP, IHC Seeks to Impose Liability for Fraud Based on an
                 Unprecedented Theory Unsupported by Law or Citation to Authority.

            Fraud carries a heightened pleading standard. See Fed. R. Civ. P. 9(b). Further, each

element of fraud must be pled with particularity. Id. However, IHC fails to allege several of the

required elements, including when the purported statements were made, the substance of the

purported statements, who made the statements, and to whom the purported statements were

made. General fraud allegations cannot be a pathway to discovery. Koch v. Koch Indus., 203

F.3d 1202, 1236 (10th Cir. 2000). Not even IHC’s brief attempts to answer these questions. In

fact, IHC concedes this issue in its brief: “the time, place, and manner of ELAP’s

misrepresentations to Members are not yet identified.” 1 While the SAC includes dates when

IHC admitted patients, those dates are insufficient because the dates as a matter of law must

relate to when the allegedly false representations were made.




1
    Intermountain’s Opposition to Motion for Partial Dismissal (hereinafter “Opposition”) (Dkt. No. 41) at 15.

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         More specifically, the Court previously found that “the allegedly false statements were

made to ELAP Plans or Plan Members, not to IHC. And because IHC vigorously contests the

accuracy of those statements, it cannot plausibly allege that it reasonably relied on them.” (Prior

Motion to Dismiss Order at 15–16.) However, nothing has changed in this regard in the SAC.

IHC asserts “ELAP is directly responsible for the false promises that Members make to pay

Intermountain’s bill without any intent to do so and that Intermountain relies on those promises

to its detriment.” 2 Utah law permits a party to recover for fraudulent statements only where the

maker of the statement had reason to believe the statement would be repeated to the plaintiff and

the plaintiff would rely on the statement. Russell/Packard Dev., Inc. v. Carson, 2003 UT App

316, ¶ 29 n.12, 78 P.3d 616. This Court previously recognized this was the applicable standard. 3

IHC fatally admits it “does not allege reliance on the verbatim repetition of the statements ELAP

made to its Members.” 4 IHC contends ELAP defrauded it by allegedly making false statements

to Members causing Members to make completely different false promises to IHC.

         Specifically, IHC claims that ELAP told Members they could go to IHC and would not

have to pay balance bills; that Members told IHC they would pay balance bills; and that IHC

relied on the Members’ alleged statements. 5 IHC does not cite any authority—and ELAP is not

aware of any—to support a claim for fraud where the allegedly false statements made to third

parties are not repeated to the plaintiff. Here, the allegedly false statement purportedly made by

Members to IHC is the exact opposite of the allegedly false statement purportedly made to



2
  Opposition at 3.
3
  Memorandum Decision and Order Granting in Part and Denying in Part Defendant’s Motion to Dismiss with Leave
to Amend (hereinafter, “Prior Motion to Dismiss Order”) (Dkt. No. 29) at 15 n.8.
4
  Opposition at 5.
5
  SAC at ¶¶ 64–65 and 73–74; Opposition at 5–6.

                                                     3
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Members by ELAP; i.e., IHC alleges ELAP told Members they would not have to pay IHC and

alleges Members told IHC they would pay. 6 IHC’s admissions that it did not rely on the

allegedly false statements made by ELAP, and that those false statements were not

communicated to IHC, are fatal to IHC’s fraud claim. See Carson, 2003 UT App 316, ¶ 29 n.12.

         Additionally, IHC responds that it “relies on false promises made in Patient

Agreements.” 7 This is an unjustifiable expansion of Carson. The Patient Agreement is a

document created by IHC, not ELAP. It is a document signed by the patient, not ELAP. It is a

document upon which IHC claims to rely. ELAP made and makes no representations to IHC, and

none are alleged or even alleged to have been repeated. See also Ellis v. Hale, 373 P.2d 382, 385

(Utah 1962) (party must intend that the content of misrepresentation be repeated);

Russell/Packard Dev., Inc. v. Carson, 2003 UT App 316, ¶ 29 n.12 (party must intend that the

substance of communication be repeated). Moreover, even taking the allegations as true, IHC

alleges elsewhere in the SAC that ELAP purposely hides its involvement by omitting its

involvement. 8 The allegations in the SAC will control over new argument found in the

Opposition.

         Recognizing it cannot plead a fraud claim based on ELAP’s alleged statements, IHC

pivots and without support asserts the Members are ELAP’s agents, such that any allegedly false

statements made by Members to IHC are attributable to ELAP. This is a novel theory brought up

in a response brief and is unsupported by the alleged facts.




6
  SAC at ¶¶ 64, 74.
7
  Opposition at 5.
8
  See, e.g., SAC at ¶ 39.

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         As IHC states, an agency relationship requires the existence of three elements: “(1) the

principal must manifest its intent that the agent act on its behalf, (2) the agent must consent to so

act, and (3) both parties must understand that the agent is subject to the principal’s control.”

Sutton v. Miles, 2014 UT App 197, ¶ 10, 333 P.3d 1279. IHC carefully selects unsupportive

allegations to shoehorn this claim. None of the paragraphs isolated by IHC supports the first

element. ELAP has never asked a Member to act on its behalf. Indeed, the allegations indicate

that the Members are simply instrumentalities, and not agents. 9

         IHC next suggests that because unidentified members on unspecified dates have made

unspecified fraudulent comments, that the Court may infer that the members are consenting to

act. This argument is exactly what Rule 9(b) and the federal pleading standard were meant to

prevent, and the argument fails to meet the pleading standard. In fact, the entire SAC reads as a

conspiracy theory where ELAP uses members as mere instrumentalities, and not as agents.

         For the third element, IHC relies on marketing materials sent to Plans and employers to

suggest that the Members understand ELAP is in control. However, IHC ignores the rest of its

SAC to make this allegation. Throughout the SAC, IHC alleges that ELAP merely “encourages”

Members to disregard the Patient Services agreement. 10 IHC does not allege that ELAP controls

or requires such conduct. And furthermore, IHC alleges that ELAP hides information from the

Members. 11 Finally, and fatally, the SAC indicates that ELAP merely encourages the employers

in Utah to adopt an ERISA plan.




9
  SAC at ¶ 74.
10
   SAC at ¶¶ 31, 65, 69, 72, 93, 95, 99, 114.
11
   SAC at ¶¶ 37–38.

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          IHC next alleges ratification of the actions to satisfy the third element of an agency

relationship. This is a tertiary argument, and the express allegations in the SAC foreclose this

issue. Indeed, the allegations identified above show that there is no control; no understanding of

control; and no allegation of consent. The allegations of the SAC fail to support this new theory.

    II.          IHC Fails to Support its Negligent Misrepresentation Claim.

          IHC takes another novel swing at a well-established cause of action. In addition to the

other elements of fraud, to state a claim for negligent misrepresentation, IHC must allege that

ELAP:

          (1) [has] a pecuniary interest in a transaction, (2) is in a superior position to know
          material facts, and (3) carelessly or negligently makes a false representation
          concerning them, (4) expecting the other party to rely and act thereon, and (5) the
          other party reasonably does so and (6) suffers loss in that transaction . . . .

Christenson v. Commonwealth Land Title Ins. Co., 666 P.2d 302, 305 (Utah 1983) (quoting

Jardine v. Brunswick Corp., 423 P.2d 659, 662 (Utah 1967)). Additionally, “liability will only lie

for a negligent misrepresentation when there is a special duty of care running from the

representor to the representee.” Ellis v. Hale, 373 P.2d 382, 385 (Utah 1962). Like a claim for

fraud, negligent misrepresentation claims must be pled with particularity. Heaton v. American

Brokers Conduit, 496 F. App’x 873, 876, 2012 WL 4096284 (10th Cir. 2012); see also

Christison v. Biogen Idec Inc., No. 2:11-cv-01140-DN-DBP, 2014 WL 7261300, at *9 (D. Utah

Dec. 18, 2014). IHC fails to allege any sort of special duty between ELAP and itself and fails to

allege with specificity the dates and content of the alleged representations. Those failures are

fatal.

          ELAP relies on the same argument set forth above regarding fraud as to the failure to

sufficiently allege the representations. Without any supporting case law, IHC attempts avoid the

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special duty requirement by simply saying it may not be an element of a claim for negligent

misrepresentation. 12 However, the special duty requirement is an element of the claim, and IHC

fails to identify any allegations in the SAC supporting that element. ELAP has no special duty to

IHC, and no such duty is alleged.

      III.       IHC Fails to Identify Any Allegations Supporting its Unjust Enrichment Claim.

             IHC omits important legal analysis in an attempt to shoehorn its claim of unjust

enrichment. IHC generally alleges that if anyone at all conferred a benefit on ELAP, IHC may

sustain a claim. That is not the law. Indeed, the EPIC case so heavily relied on by IHC states that

“[t]he first element of quantum meruit requires the court to measure the benefit conferred on the

defendant by the plaintiff.” EPIC v. Salt Lake Cty., 2007 UT 72, ¶ 26, 167 P.3d 1080. There,

EPIC served as a billing and collection company for emergency physician groups in Utah. Id.

¶ 1. EPIC sued the County on behalf of those physician groups for goods and services those

physicians provided to County inmates. Id. The court found a sufficient benefit conferred

because the County “ha[d] complete control over when and where medical services are provided

and therefore dictates the means by which its constitutional obligation is fulfilled.” Id. at ¶ 27.

The court further relied on the fact that had the County not contracted out to EPIC and its

physician groups, the County would have had to “employ more on-site medical staff or bear

increased liability for providing inadequate care.” Id. Based on those realities of that particular




12
  When researching the headnote in Ellis, counsel for ELAP also found Robinson v. Tripco Inv., Inc., 2000 UT App
200, ¶ 30, 21 P.3d 219 (Billings, J. dissenting) (discussing special duty between litigants); DeBry v. Valley Mortg.
Co., 835 P.2d 1000, 1005–07 & n.1 (Utah Ct. App. 1992) (discussing special duty and listing cases). Compare
Opposition at 17, n.9.



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relationship, the Court found “[t]hese are real benefits that are sufficient to establish the first

prong of a quantum meruit claim.” Id.

         IHC’s argument does nothing more than attempt to conflate all medical care in this case

into the particular fact pattern in EPIC. However, the two situations are significantly different.

Per the SAC, ELAP markets itself to companies by explaining it can help them save money on

health care costs. 13 ELAP reviews hospital bills for its clients and determines the appropriate

amount of benefits to be paid by the health plan. 14 According to IHC, ELAP determines the

payment amount by reference to the amounts hospitals accept from Medicare. 15 If hospitals seek

to collect additional amounts from health plan members, ELAP provides a defense to the plan

member. 16 Companies that hire ELAP pay fees in exchange for its services. 17

         IHC does not share the same constitutional responsibilities of the County in EPIC, much

the same as ELAP does not perform any functions like EPIC. See EPIC, 2007 UT 72, ¶¶ 13–14.

IHC is a successful provider of healthcare services that absent an emergent situation, can refuse

to provide care. 18 ELAP is a bill auditor and does not facilitate or assist in the provision of care.

IHC cannot be said to have outsourced any duties to ELAP and vice versa. Moreover, IHC did

not plead these allegations in the SAC. Lastly, the Court relied on EPIC’s obligations under

EMTALA because those were the sole type of services that EPIC provided. Id. ¶ 28. The same

is, again, not true here. There is no credible argument that IHC conferred any benefit on ELAP.




13
   SAC at ¶¶ 5, 20, 23, 29.
14
   SAC at ¶ 25.
15
   SAC at ¶ 26.
16
   SAC at ¶ 27.
17
   SAC at ¶¶ 23, 56.
18
   SAC at ¶¶ 13-19, 39.

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The Court must “measure the benefit conferred on the defendant by the plaintiff.” Id. ¶ 26. Here,

there is none.

         IHC argues that when it cares for its patient, it does not do so gratuitously or “for [its]

own advantage” thereby attempting to distinguish Baugh v. Darley, 184 P.2d 335 (Utah 1947).

“Unjust enrichment of a person occurs when he has and retains money or benefits which in

justice and equity belong to another.” Id. at 337. IHC receives reasonable compensation from the

Plan and its members. IHC identifies no benefit that it conferred on ELAP. IHC does not care for

a patient for the benefit of ELAP—it cares for it to continue producing its $7,000,000,000.00 in

revenue. Moreover, as stated in the SAC, care is provided to a patient, not ELAP; 19 the Plan and

the member receive the bill; 20 and the Plan and/or the member then pays the reasonable value of

the goods and services rendered. 21 IHC then receives the payment – payment that benefits itself,

and which contributes to IHC’s $7 billion in revenue. 22

         The SAC identifies no benefit that IHC conferred on ELAP sufficient to meet the first

element. Much the same, the SAC is devoid of any allegation that ELAP appreciated any benefit

conferred by IHC. Looking to the other allegations, there could not be any benefit as ELAP

works directly with the Member and the Plan. Based on the services ELAP provides to the

Member and the Plan, ELAP is paid by the Plan using funds it maintains pursuant to ERISA.

Therefore, ELAP does not appreciate any benefit IHC conferred because there is none.




19
   SAC at ¶ 25.
20
   SAC at ¶ 25.
21
   SAC at ¶¶ 25–26.
22
   SAC at ¶ 26.

                                                    9
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          Finally, ELAP provides a service to the Plan and the member. The Plan then compensates

ELAP for that service. To the extent this somehow can be contrived as a benefit conferred by

IHC on ELAP, it is not unjust for ELAP to maintain compensation for a service it provides.

    IV.          IHC Fails to Allege a Proper Claim for Declaratory Judgment.

          The declaratory judgment claim does nothing more than veil the other claims IHC makes

in an improper attempt to side-step obvious deficiencies. However, where declaratory relief is

premised on the existence of a substantive cause of action, relief is inherently unavailable if the

substantive claim fails as a matter of law. Long v. Wells Fargo Bank, N.A., 670 Fed. Appx. 670,

671 (10th Cir. 2016). As discussed above, the claims for which IHC seeks declaratory judgment

are meritless. Thus, so too is the declaratory judgment action.

          Furthermore, IHC has no standing. IHC has failed to allege any representation that has

caused harm. See Tandy v. City of Wichita, 380 F.3d 1277, 1283 (10th Cir. 2004). IHC merely

alleges such representations could have possibly happened but has admittedly yet to identify

when or how that harm occurred. See id. The claimed relief similarly is premised on what are

admittedly assumptions. This is the very reason why the law does not permit declaratory relief

for conjectural harms. Moreover, the relief requested suffers from speculative deficiencies.

                                           CONCLUSION

          For the foregoing reasons, and those set forth in ELAP’s Partial Motion to Dismiss, ELAP

respectfully requests that the Court grant ELAP’s Partial Motion to Dismiss.

          Respectfully submitted this 18th day of December, 2018.




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                                   PARR BROWN GEE & LOVELESS



                                   By: /s/ Bentley J. Tolk
                                          Bentley J. Tolk

                                   Attorneys for Defendant ELAP Services,
                                   LLC




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                                 CERTIFICATE OF SERVICE
         I hereby certify that on this 18th day of December, 2018, a true and correct copy of the

foregoing REPLY MEMORANDUM IN SUPPORT OF ELAP’S PARTIAL MOTION TO

DISMISS was served via electronic service on the following:

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                                                     /s/ Bentley J. Tolk




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